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                              EXHIBIT 9
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           New in Town: Peppercorns Kitchen in Evanston

          MARCH 3, 2016 BY JULIE CHERNOFF (HTTP://MAKEITBETTER.NET/AUTHOR/JCHERNOFF/)
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5 Things to Do: April 27-29
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13 New Favorite Brunch Spots Around Chicago




8 Crowd-Pleasing Graduation Party Recipes for Guests of All Ages
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7 Delicious Instant Pot Recipes You Need to Try
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7 Bay Area Restaurants Serving Up Delicious Sustainable Seafood
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6 Ways to Change Your Relationship With Food and Dieting for Good




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Eat & Drink
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Peppercorns Kitchen                                       Visit Website (http://www.peppercornskitchen.com/)




Peppercorn’s Kitchen is a chef-driven contemporary Chinese restaurant located at Evanston, Il. Our
mission is to deliver a brand-new culinary experience mixing authentic Szechuan cuisine and creative
American-Chinese fusion.

Our restaurant's name is derived from the most essential spice in Szechuan Cuisine: peppercorn. It has
a intensely fragrant, citrus-like flavor, a slight lemony overtone and creates a tingly numbness in the
mouth. To perfect the traditional Szechuan flavor, many of our spices like peppercorn and preserved
ingredients are imported directly from Szechuan.

Peppercorn's menu features a variety of authentic Szechuan cuisine prepared with over 20 kinds of
techniques like stir-frying, steaming, braising, panfrying, searing and roasting. Together with our food,
drinks and interior space, we want to present an inspiring contemporary Chinese culinary experience to
every guest.
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        (http://www.yelp.com/biz/peppercorns-kitchen-evanston)

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Address

620 Davis St

 Directions (https://maps.google.com?q=620 Davis St,)

Hours

    • Friday to Saturday 11:00am-10:30pm
    • Sunday to Thursday 11:00am-9:30pm
Phone

847-563-8461
Email

baguoyanyi@gmail.com (mailto:baguoyanyi@gmail.com)
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               (service)Upcoming Events                        Submission (/new-        Directors (/board-
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